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                  IN THE UNITED STATES DISTRICT COURT FO^L TIJE
                             EASTERN DISTRICT OF VIRGINIA                i clliik. u.£>.DisiHicTcoi-iHT
                                    Newport News Division

UNITED STATES OF AMERICA                             CRIMINAL NO.4:I9ci


                                                     18U.S.C. §1001
                                                     Documents Containing False Statements in a
JOSEPH W.POWELL,                             )       Matter Within Jurisdiction of Agency of
                                                     the United States
               Defendant.                    )      (Counts 1-12)

                                         INDICTMENT


                         April 2019 Term - at Newport News, Virginia

                                  GENERAL ALLEGATIONS


       At all times relevant to this Indictment:

       1.      Newport News Shipbuilding ("NNS"), a division of Huntington Ingalls Industries

("Hll"), manufactures submarines and other ships for the United States Navy in the Newport News

Shipyard in the Commonwealth of Virginia, within the Eastern District of Virginia.

       2.      To ensure that all of the welds on these vessels are free of defects and otherwise

compliant with U.S. Military Specifications ("MilSPECs"), NNS has a separate and distinct

department,known as Code 038,responsible for inspecting welds. These inspections are a critical

last step to identify and correct welding issues before vessels are finalized for delivery to the

Department of Defense.

       3.      Weld joints connect two or more pieces of metal. Magnetic Particle Testing

("MT"), one of several methods employed by Non-Destructive Test("NDT")Inspectors in Code

038, is a process for detecting surface and shallow subsurface flaws such as cracks in weld joints.

Another such method is Eddy Current Test("ET").
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          4.    If weld joints are welded improperly,they can fail. Indeed,the United States Navy

instituted a quality control system, the Submarine Safety Program ("SUBSAFE"), as a result of

the loss of the USS Thresher ("SSN-593") during a deep sea test dive in 1963. The SUBSAFE

program was designed to provide maximum reasonable assurance of watertight integrity and

recovery capability for submarines.

          5.    To track and ensure quality control with inspections, NDT Inspectors in Code 038

certify their MT and ET inspections using NNS's Electronic Record System ("ERS"). The ERS

is the electronic system used by NNS that records and captures certain work in progress within the

shipyard related to among other things, NDT inspections. ERS falls within the jurisdiction ofthe

United States Navy and the Department of Defense, both executive branch agencies ofthe United

States.


          6.    The electronic certification process on ERS is a standard procedure and it becomes

the permanent inspection record of a particular weld joint. Additionally, after performing an MT

inspection,in accordance with NNS policy Q-1060.5,inspectors are required to notate on approved

welds,"MT OK," their personnel number (PERN), name, and the date of the inspection on the

weld joint itself.

                                  THE FALSE STATEMENTS


          7.    In or about November 2012, JOSEPH W. POWELL, the defendant herein, was

hired by NNS to be an NDT Inspector in Code 038,in Newport News, Virginia. While employed

by NNS,the defendant's personnel number ("PERN") was N00082133. As an NDT Inspector,

the defendant performed MT and ET inspections on vessels such as Virginia Class Submarines

and Aircraft Carriers.
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       8.      The defendant had extensive training on and familiarity with the proper protocol

for MX and ET inspections. He received his Level II MX inspection certification in February 2013

and EX certification in 2014. The defendant also coached and helped train new NDX inspectors

in Code 038, served on the Continuous Improvement Team for Code 038, and was awarded

multiple Model of Excellence Awards for his work on the team.

       9.      In or about 2015 and 2016,Code 038 had a vacant foreman position. The defendant

was selected to serve as the acting ("make-up") supervisor for Code 038 from in or about May

2015 to August 2015, and from in or about January 2016 to April 2016. The defendant was also

a candidate to fill the vacant foreman position in Code 038.

       10.     In or about June 1, 2016,NNS received information that the defendant appeared to

have certified the MX inspection of a weld joint JH008-1, Hull 792, in ERS without conducting

the requisite inspection protocol. The weld joint did not have the mandatory physical notations on

the weld joint itself - namely, "MX OK," the inspector's name, PERN and the date of the

inspection. The weld joint also did not have MX powder or yoke marks- residue left on the weld

joint by the inspection equipment. According to ERS, however, the defendant had certified that

he inspected the weld joint.

       11.     Various welds certified by the defendant in ERS subsequently were investigated by

NNS in June 2016, which led to the identification of additional welds that were not in acceptable

condition for inspection, did not contain the required physical markings indicating an inspection

had been completed, nor had residue or powder on or around the job from the inspection

equipment. One particular weld joint, SEA20-1 was a SUBSAFE weld joint found to contain two

linear indications that would have caused the weld to be rejected.
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       12.     Based on the findings of NNS's initial investigation in June 2016, NNS undertook

an extensive re-inspection process of weld joints previously certified by the defendant in ERS in

order to determine a "bounding period." That is, NNS investigated how far back to go in its re-

inspection efforts in order to ensure no adverse impact remained on vessels delivered to the

Department of Defense. NNS inspection personnel and management determined the "bounding

period" to be from December 10, 2015 to June 1, 2016, on a total of eight submarines and one

Aircraft Carrier - all of which were under manufacture or repair by NNS for the United States

Navy and Department of Defense.

       13.     Numerous NDT weld joints certified by the defendant in ERS were re-inspected.

The re-inspections revealed that a number of weld joints previously certified by the defendant as

being satisfactory were,in fact, unsatisfactory, as these weld joints contained indications or defects

subject to rejection, and specifically required repair by a welder.

       14.     The re-inspections also revealed a number of weld joints that had been previously

certified by the defendant as satisfactory had indications or defects in the weld joint requiring

additional processes in order to bring the weld within required tolerances for specification.
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                             COUNTS ONE THROUGH TWELVE


          THE GRAND JURY CHARGES THAT:


          1.   The factual allegations contained in the General Allegations are incorporated by

reference herein as ifset out in full below.


          2.   On or about the dates and in connection with the statements described below,in the

Eastern District of Virginia and elsewhere, JOSEPH W. POWELL, the defendant herein, as

described in the General Allegations above and incorporated herein by reference, did willfully and

knowingly make and cause to be made, and use and cause to be used, in a matter within the

jurisdiction of a department or agency of the United States, a false writing or document, knowing

the same to contain a materially false, fictitious, and fraudulent statement, to wit: The defendant

knowingly made false statements in a matter within the jurisdiction ofthe United States Navy and

the United States Department of Defense when he logged into Newport News Shipbuilding's

(NNS)Electronic Record System(ERS)using his NNS employee identification badge and secure

password, and entered the weld record for the following joint numbers, when in fact he had not

completed the mandatory inspections ofthe weld joints.




   Count       Date(on or about)                    Description of False Statement

                                     Defendant knowingly made false statements in ERS,using
      1        December 16, 2015     his NNS employee identification badge and secure
                                     password, that Joint J0094 was satisfactory, when in fact
                                      he had not inspected it.
                                      Defendant knowingly made false statements in ERS,using
      2        December 17, 2015      his NNS employee identification badge and secure
                                      password, that Joint J0254 was satisfactory, when in fact
                                      he had not inspected it.
                                      Defendant knowingly made false statements in ERS,using
      3        December 17, 2015      his NNS employee identification badge and secure
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                                 password, that Joint J0253 was satisfactory, when in fact
                                 he had not inspected it.
                                 Defendant knowingly made false statements in ERS,using
   4          April 7, 2016      his NNS employee identification badge and secure
                                 password, that Joint J2010 was satisfactory, when in fact
                                 he had not inspected it.
                                 Defendant knowingly made false statements in ERS,using
   5          May 2, 2016        his NNS employee identification badge and secure
                                 password,that Joint JH008-1 was satisfactory, when in fact
                                 he had not inspected it.
                                 Defendant knowingly made false statements in ERS,using
   6          May 19, 2016       his NNS employee identification badge and secure
                                 password, that Joint JERA42-1 was satisfactory, when in
                                 fact he had not inspected it.
                                 Defendant knowingly made false statements in ERS,using
   7          May 26,2016        his NNS employee identification badge and secure
                                 password, that Joint J0608 was satisfactory, when in fact
                                 he had not inspected it.
                                 Defendant knowingly made false statements in ERS,using
   8          May 26,2016        his NNS employee identification badge and secure
                                 password, that Joint J0617 was satisfactory, when in fact
                                 he had not inspected it.
                                 Defendant knowingly made false statements in ERS, using
   9          May 26, 2016       his NNS employee identification badge and secure
                                 password, that Joint J0618 was satisfactory, when in fact
                                 he had not inspected it.
                                 Defendant knowingly made false statements in ERS,using
  10          May 31,2016        his NNS employee identification badge and secure
                                 password, that Joint J0750 was satisfactory, when in fact
                                 he had not inspected it.
                                 Defendant knowingly made false statements in ERS,using
  11          May 31, 2016       his NNS employee identification badge and secure
                                 password, that Joint J0736 was satisfactory, when in fact
                                 he had not inspected it.
                                 Defendant knowingly made false statements in ERS,using
  12          June 1, 2016       his NNS employee identification badge and secure
                                 password, that Joint SEA20-1 was satisfactory, when in
                                 fact he had not inspected it.


    (In violation of Title 18, United States Code, Section 1001.)
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UNITED STATES v. JOSEPH W.POWELL.4:19cr_                        „.he E<i>vernment Act,
                                                      the original of this page has been filed
                                                         under seal in the Qerk's Office.




                                              A TRUE BILL:




                                              FOREPERSON




G.ZACHARY TERWILLIGER
UNITED STATES ATTORNEY




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